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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No.: 17-cv-60426-UU

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

    Defendants.
  ____________________________________/


                 DEFENDANTS’ MOTION IN LIMINE NO. 1 TO
   EXCLUDE EVIDENCE OR ARGUMENT AS TO BUZZFEED’S POST-PUBLICATION
      DECISION TO REDACT PLAINTIFFS’ NAMES FROM THE DOSSIER AND
                  INCORPORATED MEMORANDUM OF LAW
            Defendants BuzzFeed, Inc. and Ben Smith hereby move the Court in limine for an order
  excluding from voir dire, opening statements, evidence, and closing arguments all references to
  BuzzFeed’s post-publication decision to redact Plaintiffs’ names from the Dossier upon
  receiving the Complaint as evidence of negligence or culpability. Such evidence would be
  inadmissible pursuant to Federal Rules of Evidence 401, 402, 403, and 407.
                                     PRELIMINARY STATEMENT
            Defendants should be precluded from introducing evidence or argument concerning
  BuzzFeed’s post-publication decision to redact Plaintiffs’ names from the Dossier because it is
  irrelevant to any elements of Plaintiffs’ claim. Moreover, admission of such evidence or
  argument would cause unfair prejudice and confuse the jury as to the proper temporal scope of
  their fault determination. Finally, the subsequent remedial measure of redacting Plaintiff’s
  names cannot be used as evidence of fault.
                                              ARGUMENT
            As alleged in Plaintiffs’ Complaint, after the Dossier was originally published, and in
  direct response to Plaintiffs’ lawsuit, Defendants redacted Plaintiffs’ names and released a
  statement that said: “We have redacted Mr. Gubarev’s name from the published dossier, and
  apologize for including it.” Ex. 1 (BuzzFeed’s Responses to Plaintiffs’ Requests for Admission),

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  Response No. 22. This Court should issue an order excluding this evidence if offered to show
  either negligence or culpability or for any other purpose because BuzzFeed’s post-publication
  behavior is not relevant to any element of Plaintiffs’ claim.
           The evidence should be excluded because it is inadmissible pursuant to Federal Rules of
  Evidence 401, 402, 403 and 407. Federal Rule of Evidence 401 states that evidence is relevant if
  it has any tendency to make a fact more or less probable, and that fact is of consequence in
  determining the action. Rule 402 states that irrelevant evidence is not admissible. Even if the
  evidence is relevant, the court may exclude it if its probative value is substantially outweighed by
  a danger of unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting
  time, or needlessly presenting cumulative evidence. Fed. R. Evid. 403. See Brown v. Davis, 656
  F. App’x 920, 921–22 (11th Cir. 2016). And Rule 407 of the Federal Rules of Evidence
  specifically provides: “When, after an event, measures are taken which, if taken previously,
  would have made the event less likely to occur, evidence of the subsequent measures is not
  admissible to prove negligence or culpable conduct in connection with the event.” An
  application of these rules requires exclusion of all references to BuzzFeed’s post-publication
  decision to redact Plaintiffs’ names from the Dossier upon receiving the Complaint as evidence
  of negligence or culpability.
           First, the evidence should be excluded pursuant to Fed. R. Evid. 407 as a subsequent
  remedial measure which may not be received as an admission of prior culpable conduct. The
  primary ground underlying this rule is a social policy of “encouraging people to take, or at least
  not discouraging them from taking, steps in furtherance of added safety.” Fed. R. Evid. 407
  advisory committee’s note. Courts have applied the broad language of this rule “to exclude
  evidence of subsequent repairs, installation of safety devices, changes in company rules, and
  discharge of employees.” Id. The principle applies in a libel case as well, because the
  alternation or elimination of alleged defamatory language “limits the extent of the damage to an
  individual’s reputation, by keeping injurious material from the eyes of new readers.” World
  Boxing Council v. Cosell, 715 F. Supp. 1259, 1267 (S.D.N.Y. 1989). For these reasons, any
  evidence or argument concerning BuzzFeed’s subsequent decision to redact the Plaintiff’s names
  from the dossier should be excluded because “evidence of a subsequent change in an allegedly
  libelous text is inadmissible” for the purpose of proving fault. Id.




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           Second, it is not relevant to whether Defendants acted with the requisite degree of intent
  in publishing the Dossier. As a matter of law, whether a defendant acted with the requisite intent
  in publishing an allegedly defamatory statement, is determined at the time of publication – and
  not based on any post-publication conduct. N.Y. Times Co. v. Sullivan, 376 U.S. 254, 286 (1964)
  (malice must be shown “at the time of the publication”); Bose Corp. v. Consumers Union of U.S.,
  Inc., 466 U.S. 485, 512 (1984) (evidence must establish that defendant “realized the inaccuracy
  at the time of publication”). This is certainly true in the actual malice context. In Shoen v.
  Shoen, 48 F.3d 412, 417 n.1 (9th Cir. 1995), for example, the court noted that evidence of the
  defendant’s attitude toward plaintiffs after publication of the alleged libel was of dubious
  relevance to the issue of constitutional malice, and “sheds little light on the extent of his
  knowledge or disregard for the truth” at the time of the statement. Similarly, in Secord v.
  Cockburn, 747 F. Supp. 779 (D.D.C. 1990), the court held that even post-publication events
  showing falsity of a statement are not admissible to prove constitutional malice because “it is
  hornbook libel law that post-publication events have no impact whatever on actual malice as it
  bears on this lawsuit since the existence or non-existence of such malice must be determined as
  of the date of publication.” See also Silvester v. ABC, Inc., 650 F. Supp. 766, 779 (1986) (“The
  statement of an ABC employee that the legal department thought after the broadcast that it might
  contain libelous material does not, without more, prove that defendants had such thoughts at the
  time the segment was aired, which is the critical time for purposes of establishing malice.”),
  aff’d, 839 F.2d 1491 (11th Cir. 1988); Herbert v Lando, 781 F.2d 298, 305‒06 (2d Cir. 1986) (“It
  is self-evident that information acquired after the publication of defamatory material cannot be
  relevant to the publisher’s state of mind of his alleged malice at the time of publication.”).
  Accordingly, BuzzFeed’s post-publication conduct has no probative value on the question of
  whether Defendants acted with actual malice.
           It also has no probative value if Plaintiffs are private figures and need to demonstrate that
  Defendants were grossly irresponsible or negligent in publishing the Dossier. Indeed, courts
  applying both standards have recognized that the timing of the analysis is the same as that under
  actual malice – it focuses on the defendant’s fault at the time of publication. See, e.g., Prince v.
  Fox Television Stations, Inc., 36 Misc. 3d 1235(A) (N.Y. Sup. Ct. 2012) (“Caselaw indicates that
  it is the conduct of defendants prior to the publication that is relevant to the inquiry of whether
  such conduct was grossly irresponsible”) (citations omitted); Brooks v. ABC, Inc., 999 F.2d 167,


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  172 (6th Cir. 1993) (negligence inquiry focuses on negligence at “the time of publication”)
  (citation omitted); Thomas v. Texas, 294 F. Supp. 3d 576, 618 (N.D. Tex. 2018) (“Generally, a
  plaintiff who is a private individual, such as Plaintiff, must show that the defendant acted
  negligently regarding the truth of the defamatory statement at the time that he published it.”),
  R&R adopted, No. 3:17-CV-0348-N-BH, 2018 WL 1254926 (N.D. Tex. Mar. 12, 2018), appeal
  dismissed, No. 18-10448, 2018 WL 4943750 (5th Cir. Sept. 12, 2018). The decision to redact
  Plaintiffs’ names, therefore, is neither evidence of gross irresponsibility nor negligence.
           Finally, even if the Court were to find that the evidence is probative (and it is not), the
  evidence should be excluded because it is unduly prejudicial. Under Fed. R. Evid. 403, the
  Court “may exclude relevant evidence if its probative value is substantially outweighed by a
  danger of one or more of the following: unfair prejudice, confusing the issues, misleading the
  jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid.
  403. Here, every BuzzFeed witness who testified in this action testified that they believed the
  Dossier’s allegations about Plaintiffs were credible and plausible when they published the
  document. See Ex. 2 (Smith Declaration) ¶ 19; Ex. 3 (Bensinger Declaration) ¶¶ 17, 20‒27; Ex.
  4 (Schoofs Declaration) ¶ 13-14; Ex. 5 (Elder Declaration) ¶¶ 5, 6, 9. Any efforts by Plaintiffs to
  argue that BuzzFeed’s decision to redact Mr. Gubarev’s name and apologize in an effort to avoid
  litigation demonstrated the requisite degree of fault would not only be unsupported by the facts,
  but could be highly prejudicial.
           Accordingly, any evidence or argument concerning BuzzFeed’s post-publication conduct
  must be excluded from trial.
                                             CONCLUSION
           For the foregoing reasons, the Court should preclude Plaintiffs from introducing
  evidence, testimony, or argument relating to BuzzFeed’s post-publication decision to redact
  Plaintiffs’ names from the Dossier.




  Dated: October 29, 2018                   Respectfully submitted,

                                            /s/ Katherine M. Bolger
                                            Katherine M. Bolger
                                            Nathan Siegel
                                            Adam Lazier

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                                     Alison Schary
                                     Davis Wright Tremaine LLP
                                     1251 Avenue of the Americas, 21st Floor
                                     New York, New York 10020
                                     katebolger@dwt.com
                                     nathansiegel@dwt.com
                                     adamlazier@dwt.com
                                     alisonschary@dwt.com

                                     /s/ Roy Black
                                     Roy Black
                                     Jared Lopez
                                     Black, Srebnick, Kornspan & Stumpf, P.A.
                                     201 So. Biscayne Boulevard
                                     Miami, Florida 33131
                                     rblack@royblack.com
                                     jlopez@royblack.com

                                     Attorneys for Defendants




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                                     CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the foregoing, together with its exhibits,
  will be served electronically by email on all counsel or parties of record on the service list below
  this 29th day of October, 2018.



                                                  By: /s/ Adam Lazier
                                                          Adam Lazier




                                             SERVICE LIST

           Matthew Shayefar
           Valentin D. Gurvits
           BOSTON LAW GROUP, PC
           825 Beacon Street, Suite 20
           Newton Centre, Massachusetts 02459
           Telephone: 617-928-1806
           Facsimile: 617-928-1802
           matt@bostonlawgroup.com
           vgurvits@bostonlawgroup.com

           Evan Fray-Witzer
           CIAMPA FRAY-WITZER, LLP
           20 Park Plaza, Suite 505
           Boston, Massachusetts 02116
           Telephone: 617-426-000
           Facsimile: 617-423-4855
           Evan@CFWLegal.com

           Brady J. Cobb
           Dylan Fulop
           COBB EDDY, PLLC
           642 Northeast Third Avenue
           Fort Lauderdale, Florida 33304
           Telephone: 954-527-4111
           Facsimile: 954-900-5507
           bcobb@cobbeddy.com
           dfulop@cobbeddy.com




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